        Case 3:16-cv-08277-DLR Document 9 Filed 12/30/16 Page 1 of 2



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                            UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF ARIZONA
10

11
     MICHAEL J. BROSNAHAN,                        No. CV-16-08277-PCT-DLR
12

13                      Plaintiff,
                                                  NOTICE OF APPEARANCE
14         v.
                                                  (Honorable Douglas L. Rayes)
15
     CALIBER HOME LOANS, INC., LSF9
16
     MASTER PARTICIPATION TRUST, and
17   SUMMIT SERVICE AND REALTY LLC

18                      Defendants.
19

20         Notice is hereby given that Brian C. Lake and Kendra L. Haar of Perkins Coie LLP

21   enter their appearance in this matter as counsel for Defendants, Caliber Home Loans,

22   Master Participation Trust, and Summit Service and Realty LLC.

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       Case 3:16-cv-08277-DLR Document 9 Filed 12/30/16 Page 2 of 2



 1   Dated: December 30, 2016              PERKINS COIE LLP
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